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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                     No. 4:16CR00072 JLH

DARRYL DAYON MADDEN
and JOBIE LORENZO KIRK                                                              DEFENDANTS

                                              ORDER

       Defendants Darryl Dayon Madden and Jobie Lorenzo Kirk were named in a superseding

indictment filed on July 6, 2016. Arrest warrants were issued for each defendant and both were

subsequently arrested on or about July 22, 2016, in the Western District of Oklahoma.

       On July 26, 2016, simultaneous detention hearings were held before United States Magistrate

Judge Shon T. Erwin in the Western District of Oklahoma. Judge Erwin found that both defendants

should be detained at that time. This Court previously requested a written transcript of the detention

hearing held in the Western District of Oklahoma.

       The Clerk is directed to file the transcript of the detention hearing held on July 26, 2016, in

the Western District of Oklahoma as to defendants Madden and Kirk.

       IT IS SO ORDERED this 13th day of September, 2016.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
